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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
 CLAUDE LEWIS,

                          Plaintiff,                             Civ. No.: 14-CV-2302 (CRK)


AMERICAN SUGAR REFINING, INC.,                                     VERDICT SHEET
and MEHANDRA RAMPHAL,

                           Defendants.
-----------------------------------------------------------x

        The jury unanimously makes the following findings:

                                    DISCRIMINATION -- LIABILITY

1.      Has Mr. Lewis proven by a preponderance of the evidence, that American Sugar
Refining, Inc. discriminated against him on the basis of his race and/or national origin in
violation of Title VII of the Civil Rights Act of 1964 and the New York State Human Rights
Law?

                                     YES ______                NO ______

2.      Has Mr. Lewis proven by a preponderance of the evidence, that Mehandra Ramphal
discriminated against him on the basis of his race and/or national origin in violation of Title VII
of the Civil Rights Act of 1964 and the New York State Human Rights Law?

                                     YES ______                NO ______

If you answer "YES" to Question 1 and/or Question 2, then you must answer Questions 3,
4 and 5. If you answered "NO" to BOTH Questions 1 and 2, then you should skip
Questions 3, 4 and 5 and proceed to Question 6.

                              DISCRIMINATION -- ACTUAL DAMAGES

3.      Has Mr. Lewis proven, by a preponderance of the evidence, that he has suffered actual
damages because of American Sugar Refining, Inc.’s and/or Mahendra Ramphal's discrimination
in violation of Title VII of the Civil Rights Act of 1964 and the New York State Human Rights
Law?

                                     YES ______                NO ______

If you answered “YES” to Question 3, state below the amount that is awarded to compensate him
for his injuries:

                                                         1
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                               $___________________________

                    DISCRIMINATION -- COMPENSATORY DAMAGES

4.      Has Mr. Lewis proven, by a preponderance of the evidence, that he has suffered emotional
distress, pain and suffering because of American Sugars Holding, Inc.’s and/or Mahendra
Ramphal's discrimination in violation of Title VII of the Civil Rights Act of 1964 and the New
York State Human Rights Law?

                               YES ______             NO ______

If you answered “YES” to Question 4, state below the amount that is awarded to compensate him
for his injuries:

                               $___________________________


                        DISCRIMINATION -- PUNITIVE DAMAGES

5.      Has Mr. Lewis proven, by a preponderance of the evidence, that he is entitled to an award
of punitive damages against American Sugars Holding, Inc. and/or Mahendra Ramphal because of
their discrimination under Title VII of the Civil Rights Act of 1964?

                               YES ______             NO ______

If you answered “YES” to Question 5, state the amount to be awarded as punitive damages:

                               $___________________________


                      HOSTILE WORK ENVIRONMENT -- LIABILITY

6.     Has Mr. Lewis proven by a preponderance of the evidence, that American Sugar
Refining, Inc. subjected Mr. Lewis to a hostile work environment because of his race and/or
national origin in violation of Title VII of the Civil Rights Act of 1964 and the New York State
Human Rights Law?

                               YES ______             NO ______

7.      Has Mr. Lewis proven by a preponderance of the evidence, that Mehandra Ramphal
subjected Mr. Lewis to a hostile work envinroment because of his race and/or national origin in
violation of Title VII of the Civil Rights Act of 1964 and the New York State Human Rights
Law?

                               YES ______             NO ______

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If you answer "YES" to Question 6 and/or Question 7, then you must answer Questions 8,
9 and 10. If you answered "NO" to BOTH Questions 6 and 7, then you should skip
Questions 8, 9 and 10 and proceed to Question 11.

                HOSTILE WORK ENVIRONMENT -- ACTUAL DAMAGES

8.     Has Mr. Lewis proven, by a preponderance of the evidence, that he has suffered actual
damages because of American Sugar Refining, Inc.’s and/or Mahendra Ramphal's hostile work
environment in violation of Title VII of the Civil Rights Act of 1964 and the New York State
Human Rights Law?

                               YES ______            NO ______

If you answered “YES” to Question 8, state below the amount that is awarded to compensate him
for his injuries:

                               $___________________________

           HOSTILE WORK ENVIRONMENT -- COMPENSATORY DAMAGES

9.      Has Mr. Lewis proven, by a preponderance of the evidence, that he has suffered emotional
distress, pain and suffering because of American Sugars Holding, Inc.’s and/or Mahendra
Ramphal's hostile work environment in violation of Title VII of the Civil Rights Act of 1964 and
the New York State Human Rights Law?

                               YES ______            NO ______

If you answered “YES” to Question 9, state below the amount that is awarded to compensate him
for his injuries:

                               $___________________________


                HOSTILE WORK ENVIRONMENT -- PUNITIVE DAMAGES

10.     Has Mr. Lewis proven, by a preponderance of the evidence, that he is entitled to an award
of punitive damages against American Sugars Holding, Inc. and/or Mahendra Ramphal because of
the hostile work environment under Title VII of the Civil Rights Act of 1964?

                               YES ______            NO ______

If you answered “YES” to Question 10, state the amount to be awarded as punitive damages:

                               $___________________________



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                                 RETALIATION -- LIABILITY

11.    Has Mr. Lewis proven by a preponderance of the evidence, that American Sugar
Refining, Inc. retaliated against Mr. Lewis in violation of Title VII of the Civil Rights Act of
1964 and the New York State Human Rights Law?

                                YES ______             NO ______

12.     Has Mr. Lewis proven by a preponderance of the evidence, that Mahendra Ramphal
retaliated against Mr. Lewis in violation of Title VII of the Civil Rights Act of 1964 and the New
York State Human Rights Law?

                                YES ______             NO ______

If you answer "YES" to Question 11 and/or Question 12, then you must answer Questions
13, 14 and 15. If you answered "NO" to BOTH Questions 11 and 12, then your
deliberations are at an end, and the foreperson should sign and date the verdict sheet, place
it in an envelope, and inform the Marshall that the jury has reached a verdict.

                            RETALIATION -- ACTUAL DAMAGES

13.     Has Mr. Lewis proven, by a preponderance of the evidence, that he has suffered actual
damages because of American Sugar Refining, Inc.’s and/or Mahendra Ramphal's retaliation in
violation of Title VII of the Civil Rights Act of 1964 and the New York State Human Rights Law?

                                YES ______             NO ______

If you answered “YES” to Question 13, state below the amount that is awarded to compensate him
for his injuries:

                                $___________________________

                       RETALIATION -- COMPENSATORY DAMAGES

14.     Has Mr. Lewis proven, by a preponderance of the evidence, that he has suffered emotional
distress, pain and suffering because of American Sugars Holding, Inc.’s and/or Mahendra
Ramphal's retaliation in violation of Title VII of the Civil Rights Act of 1964 and the New York
State Human Rights Law?

                                YES ______             NO ______

If you answered “YES” to Question 14, state below the amount that is awarded to compensate him
for his injuries:

                                $___________________________



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                          RETALIATION -- PUNITIVE DAMAGES

15.     Has Mr. Lewis proven, by a preponderance of the evidence, that he is entitled to an award
of punitive damages against American Sugars Holding, Inc. and/or Mahendra Ramphal because of
the retaliation under Title VII of the Civil Rights Act of 1964?

                               YES ______            NO ______

If you answered “YES” to Question 15, state the amount to be awarded as punitive damages:

                               $___________________________

You have completed your deliberations. After completing this form, the Foreperson should sign
and date it, place it in an envelope, and inform the Marshal that the jury has reached a verdict.



Dated: _______________________                             ______________________________
                                                           Signature of Foreperson




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